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contemplated royalties of $10.5 million. IMG twice attempted to pay Houbigant the outstanding

royalties, plus $1,000, to purchase the trademark rights, but Houbigant, evidently regretting the

original agreement, refused to accept. By this lawsuit, IMG seeks declaratory relief and specific

performance of Houbigant’s obligation to sell the trademark rights.1

       2.       This action also seeks relief on behalf of certain of IMG’s lenders, who, after a

default by IMG, recently gained a controlling equity position in IMG’s parent company from its

former CEO and sole stockholder, Isaac Cohen. The lenders have since discovered a disturbing

amount of wrongdoing by Cohen and his counterpart at Houbigant, Michael Sherman, and this

lawsuit seeks to rectify certain of the damage they have wrought.

       3.       Among other things, the lenders discovered that Sherman and Cohen entered into

a series of unauthorized and unlawful agreements that purported to amend the License

Agreement, notwithstanding that the lenders maintained a security interest in the License

Agreement and an express right to approve any amendments. These improper agreements

include certain “consulting” agreements which purported to authorize exorbitant fees to

Houbigant in exchange for no consideration. The apparent purpose for all of these agreements

was to allow Cohen to maintain control over IMG while allowing Houbigant and Sherman to be

paid far beyond what the License Agreement and financing agreements otherwise allowed. This

lawsuit seeks to declare all of these unauthorized agreements void and to recover the damages

caused by the defendants’ unlawful conspiracy to execute them.



1
  This case is related to Houbigant v. IMG Fragrance Brands, 09 Civ. 839 (S.D.N.Y.), in which
Houbigant alleges that IMG is infringing the trademarks that were the subject of the License
Agreement. This action seeks to declare IMG the owner of those same trademarks, and IMG’s
ownership of the trademarks is a primary defense to the infringement action. Todd Harrison,
counsel for defendants in this action and plaintiffs in the infringement action, has agreed on his
clients’ behalf to consolidate the two cases.
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                                            PARTIES

        4.       Plaintiffs IMG Fragrance Brands LLC (“IMG”), IMG Holdings, Inc. (“IMG

Holdings”) and Dana Classic Fragrances, Inc. (“Dana”) are Delaware limited liability companies

with their principal place of business in Deerfield Beach, Florida. IMG Holdings is the sole

member of IMG and the parent of Dana. These entities are part of a group of businesses known

as “Dana,” which makes and sells a portfolio of iconic fragrance products, including the products

that are at issue in this litigation.

        5.       Plaintiffs Zohar CDO 2003-1, Limited (“Zohar I”), Zohar II 2005-1 Limited

(“Zohar II”) and Zohar III Limited (“Zohar III,” and collectively, the “Zohar Funds”) are

Cayman Islands exempted companies, with their principal place of business in New York, New

York. The Zohar Funds are investments funds that make secured loans to, and acquire,

distressed business, including Dana and its various affiliates.

        6.       Defendants Houbigant, Inc. and Etablissement Houbigant (collectively,

“Houbigant”) are corporations organized under the laws of Delaware and Lichtenstein,

respectively. They are in the business of licensing trademarks and their only two employees are

defendant Michael J. Sherman (“Sherman”), Houbigant’s CEO, and his wife Frances Sherman.

Houbigant’s principal place of business is the Sherman’s apartment, which is located at 333 East

68th Street, New York, New York.

        7.       In 2004, Michael Sherman pled guilty to falsifying business records and criminal

possession of stolen property in connection with his role in stealing from distressed and bankrupt

companies. He was sentenced to 2 ½ to 7 ½ years of imprisonment, and his workout firm

agreed to pay $6 million in fines, along with the costs of prosecution.




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                                 JURISDICTION AND VENUE

       8.       This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331 because the action arises under federal law. In particular, this action asserts a claim

under the Declaratory Judgment Act, 28 U.S.C. § 2201, and seeks a declaration in anticipation

of, and in defense of, coercive relief brought against IMG under the Lanham Act, 15 U.S.C.

§ 1114. The Court has supplemental jurisdiction over the remaining claims under 28 U.S.C.

§ 1367(a) because those claims form part of the same case or controversy as the claim under the

Declaratory Judgment Act.

       9.       With proper service, this Court will acquire personal jurisdiction over the

defendants under Rule 4(k)(1)(A) of the Federal Rules of Civil Procedure and N.Y. C.P.L.R.

§ 301 because Sherman is a resident of New York and Houbigant regularly transacts business in

New York.

       10.      Venue is appropriate in this District under 28 U.S.C. § 1391(b)(1) because all the

defendants are located in the District. Alternatively, venue is appropriate under 28 U.S.C.

§ 1391(b)(3), because one or more defendants may be found in this District.

                                   STATEMENT OF FACTS

The License Agreement

       11.      On December 19, 2003, Houbigant and IMG entered into a License Agreement

under which Houbigant granted IMG the exclusive, worldwide right to manufacture and

distribute certain perfume and fragrance products developed by Houbigant and bearing its

registered trademarks. Houbigant also agreed to “assist . . . in the promotion of the sales” of the

licensed products, “so as to enhance the reputation” of the products. In exchange, IMG agreed to

pay royalties of $175,000 per month over the Agreement’s five-year term.


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The September 2004 Loans and Assignments

       12.      On September 30, 2004, IMG (and various affiliates) entered into a Loan and

Security Agreement with Congress Financial Corporation (“Congress”), with a maximum loan

amount of $23 million. As part of that Agreement, IMG pledged substantially all of its assets as

collateral to secure the loans. Isaac Cohen, IMG’s CEO, also pledged his 100% ownership

interest in the stock of IMG Holdings as collateral for the loans. The lenders were empowered to

foreclose upon these assets, and Cohen’s stock, upon an event of default.

       13.      In connection with the Loan Agreement, IMG and Houbigant executed a

Collateral Assignment of License Agreement, under which IMG pledged its interest in the

License Agreement as further collateral for the loans. The agreement required that IMG and

Houbigant obtain the written consent of Congress before amending or modifying the License

Agreement.

       14.      Houbigant, Inc. and Etablissement Houbigant, as Licensors under the Licensing

Agreement, each separately executed the Collateral Assignment of License Agreement under the

statement: “Each Licensor hereby consents and agrees to the provisions of the Collateral

Assignment as of the date hereof.”

       15.      At the same time, both Houbigant, Inc. and Etablissement Houbigant also entered

in to a “Side Letter” agreement entitled “Licensor’s Consent to Use of Trademarks and

Products,” under which they agreed (among other things) to give Congress written notice of any

alleged default under the License Agreement, as well as an opportunity to cure such defaults on

IMG’s behalf.

       16.      Both the Side Letter and the Collateral Assignment of License Agreement

expressly stated that they would be enforceable by Congress’ successors or assigns. The Zohar


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Funds have since succeeded to Congress’ loans and to its rights under the Collateral Assignment

of License Agreement and the Side Letter.

The June 2007 Loans and Assignments

         17.      In connection with a restructuring of the loans on June 28, 2007, Houbigant

executed an additional Collateral Assignment of License Agreement and an additional Side

Letter. These agreements provided Wells Fargo Foothill, Inc. (“Wells”), as agent for a new set

of lenders, substantially similar rights as Congress had been given as part of the September 2004

agreements. In December 2008, Zohar II and Zohar III succeeded to Wells’ loans and an

affiliate of the Zohar funds succeeded to Wells as agent for those loans.

         18.      The June 2007 Collateral Assignment of License Agreement and Side Letter did

not supersede or otherwise extinguish the ones executed in September 2004. Thus, any

amendment of the License Agreement after June 28, 2007 required written consent of the

appropriate agent under both agreements. Similarly, if IMG were to default under the License

Agreement at any point after June 28, 2007, these same parties were entitled to notice and an

opportunity to cure.

The Unauthorized Agreements

         19.      Notwithstanding these express and unambiguous strictures, Cohen and the

Shermans executed at least nine agreements that purported to amend the License Agreement,

without first seeking lender approval:

   No.         Agreement                                  Date

   1           Second Deferral Agreement                  May 22, 2005

   2           Third Deferral Agreement                   Sept. 18, 2006

   3           Consulting Agreement                       Sept. 18, 2006


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   No.         Agreement                                   Date

               Product Development and Marketing
   4                                                       Sept. 18, 2006
               Agreement

   5           Fourth Deferral Agreement                   Nov. 30, 2006

   6           Amended Consulting Agreement                April 17, 2007

               Amended Product Development and
   7                                                       April 17, 2007
               Marketing Agreement

   8           Fifth Deferral Agreement                    Aug. 27, 2008

               Second Amended Consulting and Product
   9                                                       Aug. 28, 2008
               Development Agreement


         20.       There is no written consent from any lender with respect to any of the above

agreements.

         21.       The various Deferral Agreements changed the payment schedules for royalties, in

exchange for interest and/or fees. The Fifth Deferral Agreement also purported to eliminate

IMG’s right to cure defaults under the License Agreement. To the extent the Deferral

Agreements were executed in response to any alleged defaults of IMG, Houbigant failed to give

written notice of those defaults to the lenders, as required by the Side Letters.

         22.       The lenders not only did not consent to the Deferral Agreements, but, at least as

far as the Zohar Funds are concerned, they never would have done so. If there were a problem

with IMG’s ability to make royalty payments, the Zohar Funds would have used their leverage to

force a renegotiation of the License Agreement, covered the shortfall themselves, or simply

foreclosed on the loans.

         23.       The Consulting and Product Development Agreements were equally unauthorized

and even more nefarious. They were originally executed at a time when the lenders, as a

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condition for waiving the borrowers’ defaults under the loans, insisted that IMG obtain a

forgiveness of certain royalty obligations from Houbigant. IMG obtained the forgiveness the

lenders sought, but then secretly executed the Consulting and Product Development Agreements

which called for the precise amount of money supposedly “forgiven”—six months of royalties,

totaling $1,050,000—to be paid to Houbigant, anyway.

       24.     The supposed “consideration” for these payments was Houbigant’s agreement to

“provide advice on entering markets” and on “finding distributors or customers” for the licensed

Products. Houbigant retained “sole discretion” to determine whether these services would

actually require anyone at Houbigant to travel anywhere. These “services” were illusory, as

evidenced by (among other things) the following:

                      (a)     The “services” duplicate Houbigant’s obligation under the License

                              Agreement to “assist . . . in the promotion of the sales” of the

                              licensed products, and to “enhance the[ir] reputation.”

                      (b)     These “services” are capped at 40 hours per month under the

                              Consulting Agreement and 20 hours per month under the Product

                              Development Agreement, which represents hourly rates of

                              $1,093.75 and $2,187.50, respectively.

                      (c)     The Agreements were executed at a time when Sherman—

                              Houbigant’s CEO and half its “workforce”—was in prison. Thus,

                              the “services” were presumably to be performed by his wife,

                              Frances, who has described herself in Federal Election

                              Commission disclosure forms as, variously, a “homemaker,”

                              “artist,” and “actor.”

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       25.      The amendments to the Consulting and Product Development Agreements merely

inflated the amounts owing and compounded the wrongdoing. There was no consideration,

much less written lender consent, for any of them.

       26.      By failing to seek written consent for the various Deferral Agreements and

Consulting and Product Development Agreements, Isaac Cohen prevented the lenders from

foreclosing on the loans and taking away his controlling stock position in the business. From

Houbigant’s perspective, these agreements allowed it to extract payments from the Dana

business that were otherwise unauthorized, and prevented the lenders from taking over the Dana

business and either negotiating reduced royalties or simply terminating the License Agreement.

Upon information and belief, Cohen and Sherman entered into an agreement, or conspiracy, to

achieve these wrongful ends.

The Zohar Funds Obtain Ownership of IMG Holdings

       27.      The borrowers under the loan agreements were due to make a monthly interest

payment on October 1, 2008, and they did not do so. The lenders responded by issuing a default

notice and acceleration letter, dated October 10, 2008, which rendered the full amount of the

loans immediately due and owing. On October 17, 2008, in exchange for withdrawing that

exercise of the lenders’ rights, Cohen contributed to the Zohar funds 75% of the stock in IMG

Holdings.

       28.      Unbeknownst to the lenders at the time, the day before losing his ownership

position, Cohen transferred over $500,000 of company funds to his personal bank account and

the personal bank account of his mistress, Gina Zamarelli, who was also an officer of Dana.

Upon information and belief, this theft, along with other self-dealing and wrongdoing, were




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made possible by the unlawful conspiracy between Cohen and Sherman. (The plaintiffs are

pursuing Cohen and Zamarelli’s wrongdoing in separate proceedings in Florida.)

IMG Exercises its Purchase Option

       29.     The License Agreement expired by its terms on December 31, 2008. At that

point, IMG had the right, for 30 days thereafter, to purchase the licensed trademark and other

rights for $1,000, plus any outstanding royalties. Likewise, by virtue of the Side Letters, the

lenders had the right to notice and an opportunity to cure any alleged default arising from the

unpaid royalties.

       30.     Both IMG and the Zohar Funds exercised these rights by twice tendering to

Houbigant an amount of money representing the outstanding royalties owed, and the $1,000

purchase price. IMG and the Zohar funds specifically asked Houbigant, if it believed the amount

to be too little, to supply its own calculation and a short explanation for it. Houbigant refused

both tenders, and further refused to supply its own calculation of what amount was owed. In

fact, Houbigant took the position that IMG no longer had any right to the purchase option.

       31.     At no time prior to this litigation has Houbigant informed IMG or the Zohar funds

of the amount it believes would satisfy the price owed under the purchase option.

                        COUNT I—DECLARATORY JUDGMENT
                      (OWNERSHIP OF THE TRADEMARK RIGHTS)

                                       (IMG v. Houbigant)

       32.     All previous allegations are incorporated herein.

       33.     IMG validly exercised its right under the License Agreement to purchase the

licensed trademark rights.




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        34.       There is an actual controversy between the parties because Houbigant has refused

to accept IMG’s tenders and wrongly maintains that it continues to own the trademarks and

related rights.

        35.       IMG is entitled to a judicial declaration that it is the equitable and lawful owner of

the trademarks and related rights.

                              COUNT II—BREACH OF CONTRACT
                                  (LICENSE AGREEMENT)

                                          (IMG v. Houbigant)

        36.       All previous allegations are incorporated herein.

        37.       Houbigant breached the License Agreement by failing to sell the licensed rights as

required under Section 9(e) of the License Agreement.

        38.       Houbigant also breached the implied duty of good faith and fair dealing by

refusing to accept IMG’s tenders and further refusing to notify IMG of what it considered to be

the appropriate purchase price under the License Agreement.

        39.       IMG is therefore entitled to specific performance, i.e., a judicial order requiring

Houbigant to formally assign the trademark rights to IMG as set forth in the License Agreement.

                           COUNT III—DECLARATORY JUDGMENT
                             (UNAUTHORIZED AGREEMENTS)

                          (IMG, the Zohar Funds and Dana v. Houbigant)

        40.       All previous allegations are incorporated herein.

        41.       All of the agreements in paragraph 19, as well as other “Deferral Fee

Agreements” and agreements executed in connection therewith, were executed without prior

written lender consent as required under both the September 2004 Collateral Assignment of

License Agreement and the June 2007 Collateral Assignment of License Agreement.


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       42.      All of these agreements are void, invalid and ineffective, and IMG, the Zohar

Funds and Dana are entitled to a judicial declaration to that effect.

                              COUNT IV—CIVIL CONSPIRACY

       (IMG Holdings, IMG, Dana and the Zohar Funds v. Sherman and Houbigant)

       43.      All previous allegations are incorporated herein.

       44.      Sherman and Houbigant conspired with Cohen and/or Zamarelli to enable Cohen

to maintain control of IMG Holdings, IMG, Dana, and all of the IMG related entities that were

Borrowers or Guarantors under the various financing documents. The conspiracy had the dual

purpose of enabling Cohen and Zamarelli to exploit the Dana business for their personal benefit

and to enable Houbigant to extract payments from the Dana business that were otherwise

unauthorized.

       45.      In furtherance of the conspiracy, Sherman, Houbigant, Cohen and/or Zamarelli

caused IMG, Dana and/or Houbigant to enter into the unauthorized agreements described above,

and further concealed the existence of these agreements, and any alleged defaults that may have

engendered them, from the lenders.

       46.      IMG, Dana and the Zohar entities are therefore entitled to damages caused by this

wrongful conduct, in an amount to be determined at trial, plus any other relief the Court deems

just and proper.

      COUNT V—AIDING AND ABETTING BREACHES OF FIDUCIARY DUTY

                   (IMG Holdings, IMG and Dana v. Houbigant and Sherman)

       47.      All previous allegations are incorporated herein.

       48.      Sherman and Houbigant aided and abetted Cohen’s and Zamarelli’s breaches of

fiduciary duty to the various Dana entities and to their lenders (including the Zohar Funds) so as


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to derive more profit from the Licensing Agreement than was permissible under that Agreement

and the various financing agreements.

          49.     Houbigant and Sherman were aware that IMG was not authorized to amend the

Licensing Agreement and could not enter the Consulting and Product Development Agreements

without the express written consent of the lenders. Sherman’s and Houbigant’s conduct is the

direct and proximate cause of financial harm to IMG Holdings, IMG and Dana.

          50.     IMG Holdings, IMG, Dana and the Zohar entities are therefore entitled to

damages caused by this wrongful conduct, in an amount to be determined at trial, plus any other

relief the Court deems just and proper.

                           COUNT VI—BREACH OF CONTRACT
                (2004 COLLATERAL ASSIGNMENT OF LICENSE AGREEMENT)

                                  (The Zohar Funds v. Houbigant)

          51.     All previous allegations are incorporated herein.

          52.     Houbigant breached the 2004 Collateral Assignment of License Agreement when

it entered into the agreements in paragraph 19, as well as any “Deferral Fee Agreements” or

other agreements executed in connection therewith. Houbigant’s breach of the 2004 Collateral

Assignment of License Agreement is the direct and proximate cause of financial harm to the

Zohar Entities.

          53.     The Zohar funds are therefore entitled to damages caused by this wrongful

conduct, in an amount to be determined at trial, plus any other relief the Court deems just and

proper.




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                       COUNT VII—BREACH OF CONTRACT
            (2007 COLLATERAL ASSIGNMENT OF LICENSE AGREEMENTS)

                               (Zohar II and Zohar III v. Houbigant)

          54.   All previous allegations are incorporated herein.

          55.   Houbigant breached the 2007 Collateral Assignment of License Agreement when

it entered into the Fifth Deferral Agreement and the Second Amended Consulting and Product

Development Agreement.

          56.   Houbigant’s breach of the 2007 Collateral Assignment of License Agreement is

the direct and proximate cause of financial harm to Zohar II and Zohar III.

          57.   Zohar II and Zohar III are therefore entitled to damages caused by this wrongful

conduct, in an amount to be determined at trial, plus any other relief the Court deems just and

proper.

                                   PRAYER FOR RELIEF
                               AND DEMAND FOR JURY TRIAL

                WHEREFORE, plaintiffs hereby demand a trial by a jury and judgment against

defendants as follows:

                         (a)    A judicial declaration that IMG is the equitable and lawful owners

                                of the trademarks and related rights that were the subject of the

                                License Agreement;

                         (b)    An Order requiring Houbigant to formally assign the trademark

                                rights to IMG as set forth in the License Agreement;

                         (c)    Damages caused by the defendants’ civil conspiracy, breaches of

                                contract, and aiding and abetting of the breaches of fiduciary duty

                                by Cohen and Zamarelli;


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